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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

PLANNED PARENTHOOD GREAT
NORTHWEST, HAWAII, ALASKA,
INDIANA, & KENTUCKY, INC.,

              Plaintiff,

EMW WOMEN’S SURGICAL CENTER,
P.S.C., et al.,                                      Case No.: 3:22-cv-198-RGJ

               Intervenor Plaintiffs,

       v.

DANIEL CAMERON, et al.,

                Defendants.


      INTERVENOR PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Intervenor Plaintiffs (hereinafter “EMW”) join Plaintiff Planned Parenthood’s motion for

a preliminary injunction (Doc. 3). For the reasons stated in that motion, and in this Court’s April

21 TRO (Doc. 27), this Court should preliminarily enjoin H.B. 3 in its entirety because

compliance is impossible. EMW does not offer additional arguments on that score; however, if

this Court does not enjoin H.B. 3 in its entirety based on arguments raised by Planned

Parenthood, EMW respectfully requests that this Court include within the scope of any

preliminary injunction those provisions of H.B. 3 that ban abortion at 15 weeks in pregnancy

(Act §§ 27, 32–35), in addition to all others for which the Court finds preliminary injunctive

relief appropriate. As discussed below, EMW has a strong likelihood of success on the merits of

its substantive due process challenge to the 15-week ban; EMW’s patients will be irreparably

harmed by the 15-week ban; and the remaining preliminary injunction factors weigh in EMW’s
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favor.

                                   STATUTORY FRAMEWORK

         In addition to the various restrictions imposed by the Act that are outlined in this Court’s

April 21 TRO (Doc. 27), the Act bans abortion at 15 weeks in pregnancy as measured from a

patient’s last menstrual period (“lmp”). Act §§ 27, 32–35. The Board of Medical Licensure shall

revoke the medical license if a physician violates the law. KRS 311.782(4). In addition, the

Attorney General has the authority to bring an action in law or in equity to enforce the 15-week ban.

Act § 35. There is a very limited exception to the 15-week ban, namely that the abortion is

necessary to prevent the death of the pregnant woman or to avoid serious risk of the substantial and

irreversible impairment of a major bodily function of the woman, KRS 311.783, and there are other

limited affirmative defenses, KRS 311.782(2)(b).

                                      STATEMENT OF FACTS

         Intervenor Plaintiff EMW Women’s Surgical Center is one of two outpatient abortion

facilities in Kentucky and both are located in Louisville. Verified Compl. (Doc. 33) ¶ 26. Both

abortion facilities provide medication abortion up to 10 weeks lmp. Id. Planned Parenthood also

provides procedural abortions up to 13 weeks and 6 days lmp. Plaintiff EMW provides procedural

abortions up to 21 weeks and 6 days lmp. Id. The Act bans abortion at 15 weeks in pregnancy, a

pre-viability point in pregnancy. Id. ¶ 24.

                                              ARGUMENT

         In ruling on a preliminary injunction, the Court considers four factors, all of which weigh

heavily in Plaintiffs’ favor: “(1) whether the movant has a strong likelihood of success on the

merits; (2) whether the movant would suffer irreparable injury absent the injunction; (3) whether

the injunction would cause substantial harm to others; and (4) whether the public interest would



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be served by the issuance of an injunction.” Am. Civil Liberties Union Fund of Mich. v.

Livingston Cty., 796 F.3d 636, 642 (6th Cir. 2015) (internal quotation marks omitted).

       As set forth below, Plaintiffs readily satisfy this standard. Plaintiffs are likely to prevail

on the merits because the Act directly contravenes decades of binding Supreme Court precedent

holding that a State may not ban abortion before the point of viability. Enforcement of the Act

will inflict severe and irreparable harm on Plaintiffs’ patients, and the balance of hardships

weighs decisively in Plaintiffs’ favor. Finally, the public interest would be served by blocking

the enforcement of this unconstitutional and harmful statute.

I.     PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR CLAIM
       THAT THE 15-WEEK BAN VIOLATES THE SUBSTANTIVE DUE PROCESS
       CLAUSE.

       This Court has recognized that the Supreme Court has held that the Fourteenth Amendment

protects the right to abortion prior to viability. Planned Parenthood Great Northwest, Hawaii,

Alaska, Indiana, and Kentucky v. Cameron, et al., No. 3:22-cv-00198-RGJ (Doc. 27, PageID.251).

The Supreme Court has repeatedly and unequivocally held that the government may not ban

abortion prior to viability. Nearly five decades ago, the Supreme Court struck down as

unconstitutional a state criminal abortion statute proscribing all abortions except those performed to

save the life of the pregnant woman. Roe v. Wade, 410 U.S. 113 (1973). The Supreme Court has

repeatedly reaffirmed that core holding in the more than four decades since Roe was decided. For

example, in Planned Parenthood of Southeastern Pennsylvania v. Casey, decided more than a

quarter century ago, the Court reaffirmed the “central principle” of Roe that, “[b]efore viability, the

State’s interests are not strong enough to support a prohibition of abortion . . . .” 505 U.S. 833,

846 (1992). Although Casey jettisoned Roe’s strict scrutiny standard in favor of the “undue

burden” standard, under which a restriction on pre-viability abortion is permitted as long as the law



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does not place a “substantial obstacle” in the path of a woman seeking abortion, the Court

emphasized:

                Our adoption of the undue burden analysis does not disturb the
                central holding of Roe v. Wade, and we reaffirm that holding.
                Regardless of whether exceptions are made for particular
                circumstances, a State may not prohibit any woman from making the
                ultimate decision to terminate her pregnancy before viability.

505 U.S. at 879 (emphasis added); see also id. at 846 (“Roe’s essential holding . . . is a recognition

of the right of the woman to choose to have an abortion before viability”); id. at 871 (any state

interest is “insufficient to justify a ban on abortions prior to viability even when it is subject to

certain exceptions”). These central holdings have been repeatedly reaffirmed by the Court,

including as recently as 2016 and 2020. Whole Woman’s Health v. Hellerstedt, 579 U.S. 582

(2016), and June Med. Servs. L.L.C. v. Russo, 140 S. Ct. 2103 (2020). 1 Recently, in Preterm-

Cleveland v. McCloud, 994 F.3d 512, 520 (6th Cir. 2021) (en banc), the Sixth Circuit held that a

law expressly characterized as a ban is subject to the undue burden test. Under that test, a law

restricting abortion must satisfy two requirements. First, the law must be reasonably related to a

legitimate state interest. Second, the law must not have the effect of placing a substantial

obstacle in the path of a woman seeking an abortion of a nonviable fetus. Id. at 524–25 (internal



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  Defendants will undoubtedly point to Dobbs v. Jackson Women’s Health Organization, No. 19-
1392, in which the United States Supreme Court is considering whether Mississippi’s 15-week
ban is constitutional. Regardless of the outcome in that case, the parties and this Court are
required to apply the law as it exists today because “vertical stare decisis is absolute.” Ramos v.
Louisiana, 140 S. Ct. 1390, 1416 n.5 (2020) (Kavanaugh, J., concurring in part); Rodriguez de
Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 484 (1989) (the Supreme Court alone has
“the prerogative of overruling its own decisions”). Notably, prior to being added to H.B. 3, the
15-week ban was a standalone bill, S.B. 321, with a regular effective date of 90 days after
passage. The sponsor of that bill noted that if Mississippi’s 15-week ban is upheld, then
Kentucky’s 15-week ban would be enforceable. Bruce Schreiner, Kentucky Senate passes bill
banning abortion after 15 weeks, AP News (March 16, 2022), available at
https://apnews.com/article/abortion-us-supreme-court-health-united-states-kentucky-
e3e55974c070ed8737e23c5f86b63e24.
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citations and quotations omitted).

        The Court need not reach the question of whether the Act is reasonably related to a

legitimate state interest because the Act unquestionably fails the second part of the undue burden

test. As this Court has held, banning abortion prior to viability imposes an unconstitutional

substantial obstacle. Planned Parenthood, No. 3:22-cv-00198-RGJ (Doc. 27, PageID.252).

Indeed, the 15-week ban prohibits abortion for all patients seeking abortion between 15 weeks

and 21 weeks and 6 days in pregnancy, a period when the fetus is not viable. The Sixth Circuit

held that “[u]nder the law of our circuit, a woman faces a substantial obstacle when she is

deterred from procuring an abortion as surely as if the government has outlawed an abortion in

all cases.” Id. at 525. Therefore, the 15-week ban creates a substantial obstacle in the path of

people seeking abortion of a nonviable fetus. In fact, Defendant Cameron concedes that the 15-

week ban is a prohibition on pre-viability abortions. Attorney General Daniel Cameron’s Resp.

to Pl.’s Mot. for T.R.O. (Doc. 21, PageID.205–206). Plaintiffs have therefore established that

they are likely to succeed on the merits of their claim that the ban violates the substantive due

process rights of their patients.

II.     PLAINTIFFS AND THEIR PATIENTS WILL SUFFER IRREPARABLE HARM.

        As the Sixth Circuit has long made clear, “if it is found that a constitutional right is being

threatened or impaired, a finding of irreparable injury is mandated.” Am. Civil Liberties Union

of Ky. v. McCreary Cty., 354 F.3d 438, 445 (6th Cir. 2003) (emphasis added) (citing Elrod v.

Burns, 427 U.S. 347, 373 (1976)); accord Mich. State A. Philip Randolph Inst. v. Johnson, 833

F.3d 656, 669 (6th Cir. 2016) (“[W]hen constitutional rights are threatened or impaired,

irreparable injury is presumed.”) (internal quotation marks omitted); Obama for Am. v. Husted,

697 F.3d 423, 436 (6th Cir. 2012) (same); Taubman Co. v. Webfeats, 319 F.3d 770, 778 (6th Cir.



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2003) (“[T]he loss of constitutional rights for even a minimal amount of time constitutes

irreparable harm.”). The Act impairs a patient’s constitutional right to make “the ultimate

decision to terminate her pregnancy before viability,” and therefore this Court must find

irreparable harm. Casey, 505 U.S. at 879. This Court has found irreparable harm caused to the

plaintiff and its patients in its April 21 Order. Planned Parenthood, No. 3:22-cv-00198-RGJ

(Doc. 27, PageID.254).

       If the 15-week ban is allowed to take effect, the consequences will be dire: patients will

be forced to attempt to travel out of state for care, if they are able to scrape together the

resources, or they will be forced to remain pregnant against their will. Furthermore, because “the

abortion decision is one that simply cannot be postponed, or it will be made by default with far-

reaching consequences,” Bellotti v. Baird, 443 U.S. 622, 643 (1979), the presumption of

irreparable harm applies with particular force where the threatened or impaired right is a

woman’s fundamental right to abortion, see, e.g., Planned Parenthood Ariz., Inc. v. Humble, 753

F.3d 905, 911 (9th Cir. 2014); Planned Parenthood of Wis., Inc. v. Van Hollen, 738 F.3d 786,

795–96 (7th Cir. 2013).

III.   THE BALANCE OF HARM TIPS DECIDEDLY IN PLAINTIFFS’ FAVOR.

       It is beyond dispute that Plaintiffs and their patients face far greater irreparable injury as a

result of the Act’s enforcement than Defendants would face if the Act’s enforcement were

enjoined. Impairing a constitutional right alone is irreparable injury, but the consequences that

result from a woman being forced to maintain a pregnancy against her will are likewise

irremediable, and include potential emotional, financial, and physical harm.

       On the other hand, the Commonwealth “does not have an interest in enforcing a law that

is likely constitutionally infirm,” Chamber of Commerce of U.S. v. Edmondson, 594 F.3d 742,



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771 (10th Cir. 2010), which the Act manifestly is, Northland Family Planning Clinic, Inc. v.

Cox, 487 F.3d 323, 337 (6th Cir. 2007). Defendants will suffer no harm from being ordered to

preliminarily refrain from enforcing a statute that is unconstitutional under decades of Supreme

Court and Sixth Circuit precedent. In short, the balance of hardships weighs overwhelmingly in

Plaintiffs’ favor, further demonstrating that immediate injunctive relief is necessary and

appropriate here.

IV.     A PRELIMINARY INJUNCTION SERVES THE PUBLIC INTEREST.

        Finally, the interests of Plaintiffs and the public are aligned in favor of granting

preliminary injunctive relief in this case. Planned Parenthood, No. 3:22-cv-00198-RGJ (Doc. 27,

PageID.255). As the Sixth Circuit has made clear, “[w]hen a constitutional violation is likely . . .

the public interest militates in favor of injunctive relief because it is always in the public interest

to prevent violation of a party’s constitutional rights.” Am. Civil Liberties Union Fund of Mich.,

796 F.3d at 649 (alteration in original) (internal quotation marks omitted); accord Mich. State,

833 F.3d at 669 (same); Am. Freedom Def. Initiative v. Suburban Mobility Auth. for Reg’l

Transp. (SMART), 698 F.3d 885, 896 (6th Cir. 2012) (“the public interest is promoted by the

robust enforcement of constitutional rights”); G & V Lounge, Inc. v. Mich. Liquor Control

Comm’n, 23 F.3d 1071, 1079 (6th Cir. 1994) (same). The only way to ensure that Plaintiffs’ and

Plaintiffs’ patients’ constitutional rights are not denied is by enjoining enforcement of the Act.

V.      A BOND IS NOT NECESSARY IN THIS CASE.

        Finally, this Court should waive the Federal Rule of Civil Procedure 65(c) bond

requirement. The Sixth Circuit has long held “that the district court possesses discretion over

whether to require the posting of security.” Appalachian Reg’l Healthcare, Inc. v. Coventry

Health and Life Ins. Co., 714 F.3d 424, 431 (6th Cir. 2013) (emphasis omitted) (internal



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quotation marks omitted); see also Moltan Co. v. Eagle-Picher Indus., Inc., 55 F.3d 1171, 1176

(6th Cir. 1995) (affirming district court decision to require no bond “because of the strength of

[the plaintiff’s] case and the strong public interest involved”). This Court should use its

discretion to waive the bond requirement here, where the relief sought will result in no monetary

loss for Defendants.

                                           CONCLUSION

        For the foregoing reasons, this Court should grant Intervenor Plaintiffs’ Motion for a

Preliminary Injunction if it does not preliminarily enjoin H.B. 3 in its entirety based on Plaintiff

Planned Parenthood’s motion.


Dated: April 29, 2022                   Respectfully submitted,


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                                            ATTORNEYS FOR PLAINTIFFS


                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing was filed with the Court using the CM/ECF
system on April 29, 2022, which will generate an electronic notice of filing to all counsel
registered with that service.

                                            s/Heather Gatnarek
                                            Heather Gatnarek




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